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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

MARCIA CLARK,                                      )
                                                   )
                  Plaintiff,                       )
                                                   )
                                                   )      Case No.
v.                                                 )
                                                   )      Jury Trial Demanded
SL WESTERN LOUNGE, LLC                             )
                                                   )
                                                   )
and                                                )
                                                   )
JOHN DOE,                                          )
                                                   )
                  Defendants.                      )


                          DEFENDANT SL WESTERN LOUNGE, LLC’S
                           CORPORATE DISCLOSURE STATEMENT

        Pursuant to Fed. R. Civ. P. 7.1, Defendant SL Western Lounge, LLC, by and through its

undersigned counsel of record, and for its Corporate Disclosure Statement, hereby discloses and

certifies that:

        SL Western Lounge, LLC is a limited liability company organized under the laws of

Missouri and does not have a parent corporation. There is not a publicly traded company that

owns 10 percent or more of SL Western Lounge, LLC’s stock.
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                                            Respectfully submitted,

                                            FOLAND, WICKENS, ROPER,
                                            HOFER & CRAWFORD, P.C.


                                            /s/Michael L. Belancio
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                                            SL WESTERN LOUNGE, LLC


                                   CERTIFICATE OF SERVICE

        I hereby certify that on July 25, 2018, I served a true and correct copy of the foregoing
upon the following by email and electronically filed the foregoing with the Clerk of the Court
using the CM/ECF system, which sent notification of such filing to the following:

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ATTORNEY FOR PLAINTIFF

                                            /s/Michael L. Belancio
                                            ATTORNEYS FOR DEFENDANT
